Case 1:19-cv-10203-IT Document 160-3 Filed 01/20/22 Page 1 of 2




                     EXHIBIT C
                       Case 1:19-cv-10203-IT
                                         Jan Document
                                             23, 2016,160-3
                                                        10:46Filed
                                                               AM01/20/22 Page 2 of 2   LarsonP3000009

                                        Hey Sari-- if you have a moment, could I talk to you
                                        on the phone for like 10 minutes?

                                        I think I'm *DONE* with the kidney story but I feel
                                        nervous about sending it out b/c it literally has
                                        sentences that I verbatim grabbed from Dawn's
                                        letter on FB. I've tried to change it but I can't seem
                                        to-- that letter was just too damn good. I'm not
                                        sure what to do...feeling morally compromised/like
                                        a good artist but a shitty person ...

                                             Plus Dawn just sent me a note that said, "Can't
                                             wait for the Muse!! Good job! Kissesn

     Whitney Scharer

~~   Sari will have good advice! I bet Alexandria will too




     Whitney Scharer

     That email from dawn trails some strings ....
